            Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 1 of 45




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

       MARTIZA ANGELES, individually and
      on behalf of all others similarly situated,
                                                         Case No.
                           Plaintiff,
               v.
                                                         CLASS ACTION COMPLAINT
        RECKITT BENCKISER LLC and
        RB HEALTH (US) LLC,                              JURY TRIAL DEMANDED

                           Defendants.




       Plaintiff Maritza Angeles (“Plaintiff”), by and through undersigned counsel, and on behalf

of himself and all others similarly situated, alleges as follows against Defendants Reckitt

Benckiser LLC and RB Health (US) LLC (collectively, “Defendants”), based upon personal

knowledge as to himself and her own acts and experiences and, as to all other matters, upon

information and belief, including investigation conducted by her attorneys:

                                         INTRODUCTION

       1.      Defendants Reckitt Benckiser LLC (“RB”) and RB Health (US) LLC (“RB

Health”) designed and now manufacture, market, advertise, and sell Neuriva Original and

Neuriva Plus, purported brain performance supplements.

       2.      It is no secret that brain health and cognitive performance are issues of concern

to consumers of all ages and are important public health issues. It is, therefore, no surprise that

products promising improved brain performance, including improved memory and focus, are




                                                 1
                Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 2 of 45




widely available in stores across the United States. 1

           3.      In 2016, dietary supplements claiming to benefit the brain generated $3 billion in

global sales.2 Brain health supplements are forecast to increase to $5.8 billion in sales by 2023. 3

           4.      In order to capitalize on the ballooning and lucrative brain health supplement

market, Defendants raced to bring Neuriva Original and Neuriva Plus (collectively, “Neuriva”

or the “Neuriva Products”) to market in April 2019, promoting Neuriva to the public as a

dietary supplement that is “clinically proven” to fuel “brain performance.” Neither of these

statements is true. Defendants have engaged in such deceptive conduct in order to compete in the

saturated brain health supplement market, which is driven by consumers’ deep concern about

this issue, which has in turn increased demand for brain health supplements across the United

States.

           5.      In their efforts to exploit this market, Defendants have engaged in a uniformly

deceptive advertising and marketing campaign including the product label and packaging,

Defendants’ website, and other marketing materials, trumpeting that “science proved” that

Neuriva’s ingredients provide brain-performance benefits to all consumers who use them.

According to Defendants’ repeated statements in their advertising, marketing, and labeling,

Neuriva’s ingredients are “backed by science” and “clinically proven” to improve consumers’

focus, accuracy, memory, learning, and concentration.



1
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7153641/.

2
 Global Council on Brain Health, “The Real Deal on Brain Health Supplements: GCBH
Recommendations on Vitamins, Minerals, and Other Dietary Supplements,” p. 2 (2019) (“Global
Council on Brain Health”). Available at:
www.GlobalCouncilOnBrainHealth.org.DOI:https://doi.org/10.26419/pia.00094.001.
3
    Id. p. 2.


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            Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 3 of 45




       6.      In fact, on the front of the Neuriva Products’ packaging, Defendants tout that

Neuriva contains “Clinically Proven Natural Ingredients” that improve brain performance in the

areas of Focus, Memory, Learning, Accuracy, Concentration, and Reasoning.

       7.      Similarly, on the top label of the Neuriva Products’ packaging, Defendants state

in bold letters: “It’s time to brain better.” And, on the side of the product packaging, Defendants

state: “Nature made it. Science proved it. Brains love it. Our natural ingredients are GMO-free

and clinically proven to enhance brain performance.”

       8.      To further promote their uniform message that Neuriva is clinically proven to

enhance brain performance, on the front of the Neuriva Product packages, Defendants include a

large picture of a brain, where it cannot be missed by consumers:




                                                 3
            Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 4 of 45




       9.      Defendants’ representations are designed to induce consumers to believe that

Neuriva has been proven as a matter of fact to provide meaningful brain performance benefits.

And consumers purchase Neuriva solely for the purpose of obtaining these purported brain

performance benefits.

       10.     The highly trumpeted active ingredients in Neuriva are Coffee Cherry Extract

(also called “Neurofactor”) and Soy-based Sharp PS (Phosphatidylserine), both of which

Defendants state are “clinically proven to enhance brain performance.”

       11.     In reality, Defendants have no scientific or clinical proof that Neuriva provides

any benefit to the brain or that its key advertised ingredients can actually access the brain in

sufficient amounts—or in any amount—to provide meaningful brain performance benefit.

Defendants’ promises about Neuriva and their representations about Neuriva’s key ingredients

are simply false or, in some instances, disturbingly misleading.

                                                 4
                 Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 5 of 45




           12.      Indeed, as the Global Council on Brain Health, a blue-ribbon collaborative

panel, has emphasized: “Despite claims to the contrary, brain health supplements have not been

established to maintain thinking skills or improve brain function.” 4

           13.      In an effort to achieve maximum profits, Defendants have capitalized on

consumers’ focus on brain health and performance and fears of cognitive decline.

           14.      Plaintiff brings this action individually and on behalf of all other similarly

situated consumers to halt the dissemination of Defendants’ fraudulent and misleading

representations, to correct the false and misleading perceptions that Defendants have created in

the minds of consumers, and to obtain redress for those who have actually purchased Neuriva.

                                               PARTIES

           15.      Plaintiff Maritza Angeles is a resident and citizen of New York, New York in

New York County, New York.

           16.      Defendants RB and RB Health are Delaware corporations with their principal

places of business located in Parsippany, New Jersey. Defendants’ corporate parent is a British

multinational company traded on the London Stock Exchange that reported net revenue of

over £12.8 billion in 2019 alone. Its brand portfolio includes, among others, Mucinex, Clearasil,

Lysol, Air Wick, and Woolite.

           17.      In 2012, Defendant RB paid $1.4 billion to merge with Schiff Nutrition

International, Inc. Schiff Nutrition was founded in 1936 as a small supplement company and

grew into a multimillion-dollar vitamin and nutritional supplement company. RB’s acquisition

of Schiff Nutrition allowed it to join the multibillion-dollar vitamins, minerals, and supplements

market.

4
    Id. at 20.


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           Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 6 of 45




        18.     Neuriva is a registered trademark of RB Health, and RB Health holds the

copyrights for the Neuriva Product labeling and for the website through which Neuriva is

marketed. RB Health also distributes the Neuriva Products and is identified as the manufacturer

on Amazon.

        19.     Defendants manufacture, advertise, market, distribute, and/or sell the Neuriva

Products to consumers in New York and throughout the United States.

                                  JURISDICTION AND VENUE

        20.     This Court has general personal jurisdiction over Defendants because

Defendants have purposefully availed themselves of the privilege of doing business within the

State of New York, including within this District; have had continuous and systematic general

business contacts within the state, including within this District; and can be said to have

reasonably anticipated being haled into court in this forum.

        21.     This Court has specific personal jurisdiction over Defendants because this action

arises out of and relates to Defendants’ contacts with this forum. Specifically, Defendants

knowingly directed the Neuriva Products through the stream of commerce into this District.

Defendants have advertised and marketed within this District through the wires and mail and via

e-commerce websites through which residents of this state and District can purchase the

Neuriva Products. Further, Defendants knowingly direct electronic activity into this state and

District with the intent to engage in business interactions and have in fact engaged in such

interactions. Moreover, Defendants’ website directs each consumer to purchase Neuriva “at your

local retailer,” including Walgreens, Walmart, CVS, Kroger, and Rite Aid, all of which have one

or more locations in this District.

        22.     This Court has original subject matter jurisdiction over this action under 28


                                                 6
           Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 7 of 45




U.S.C § 1332(d), which provides for the original jurisdiction of the federal district courts over

“any civil action in which the matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs, and [that] is a class action in which . . . any member of a class of

plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).

Plaintiff is diverse from Defendants, and the matter in controversy exceeds $5,000,000.00 in the

aggregate, exclusive of interest and costs. Finally, “the number of members of all proposed

plaintiff class in the aggregate” is greater than 100. See 28 U.S.C. § 1332(d)(5)(B).

        23.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to Plaintiff’s claims occurred within this District. Plaintiff

purchased Neuriva in this District and incurred losses in this District. Numerous other Class

members also purchased the Neuriva Products in this District. Defendants caused the Neuriva

Products to be offered for sale and sold to the public, including to Plaintiff, in this District.

        24.     Venue is proper pursuant to 28 U.S.C. § 1391(c)(2) because this Court maintains

personal jurisdiction over Defendants.

                          ADDITIONAL FACTUAL ALLEGATIONS

Sales of Neuriva Products

        25.     Neuriva, which Defendants raced to market in only 12 months, is a growing

leader in the brain supplement industry. Neuriva is now an Amazon best seller.

        26.     The Neuriva Product line includes two formulas—Neuriva Original and Neuriva

Plus—both of which contain coffee fruit extract and soy-based phosphatidylserine as active

ingredients.




                                                   7
                Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 8 of 45




27.   Neuriva Original contains the following ingredients:




28.   Neuriva Plus contains the following ingredients:




             29.    Defendants sell Neuriva online through their website, schiffvitamins.com, and in

      stores nationwide, including Walgreens, Walmart, CVS, Rite Aid, Sam’s Club, Target, and

      others, as well as on Amazon.

             30.    Since Defendants first started selling Neuriva, they have uniformly and

      continuously represented, on both product packaging and in product advertising, that Neuriva


                                                     8
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 9 of 45




enhances brain health and performance.

       31.     Defendants’ representations appear, among other places, on the Neuriva Product

label and packaging; in television commercials; on Defendants’ web pages; in other online

vending and marketing forums including sponsored videos on YouTube; and in product

pamphlets and other literature distributed by Defendants.

       32.     Although Neuriva comes in two formulas, each formula is substantially similar

to the other in form and in purported function and both are sold in substantially similar packages,

with similar labels, making similar claims and including similar instructions, as can be seen

throughout this Complaint.

       33.     The omissions and misrepresentations identified in this Complaint are virtually

identical across both formulations and the claims that form the basis of this action would be the

same in all essential respects regardless which formula is considered. That is to say, the

formulas are substantially similar and the means of deception is the same for both.

       34.     Defendants’ misrepresentations fall into two categories: (1) Defendants make

health claims (e.g., enhanced brain performance) that are actually false, and (2) Defendants

affirmatively represent that Neuriva’s purported beneficial effects are scientifically established

(e.g., clinically proven). Both categories of representations are false and/or misleading.

       35.     Defendants intend for consumers to rely upon Defendants’ representations

concerning the Neuriva Products’ brain health benefits and Defendants’ claims that the Neuriva

Products’ ingredients are scientifically and clinically proven.

       36.     It is reasonable for consumers to rely upon Defendants’ representations

concerning the Neuriva Products when deciding to purchase Neuriva Products.

       37.     Defendants’ representations concerning the Neuriva Products’ brain health


                                                 9
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 10 of 45




benefits were developed with the intent to generate sales of the Neuriva Products.

Defendants’ Representations about the Neuriva Products

       38.     Defendants have made uniform, express and implied representations concerning

the benefits of the Neuriva Products. These representations include claims that the Neuriva

Products are scientifically and clinically proven to improve brain function in specified ways and

that oral consumption of the Neuriva Products will result in improved brain function.

       39.     Defendants’ express and implied representations concerning the Neuriva

Products’ brain performance capabilities are uniform and pervade Defendants’ marketing.

       40.     The exterior of the Neuriva Original packaging claims that it has “clinically

proven natural ingredients” and claims that the supplement “Fuels 5 indicators of brain

performance” and lists the following: Focus, Memory, Learning, Accuracy, and Concentration.

The label on the bottle itself states that it is “CLINICALLY PROVEN.”




       41.     The side of the Neuriva Original packaging elaborates on what Defendants claim

                                                10
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 11 of 45




the supplement will do as a matter of fact: “Our natural ingredients are GMO-free and

clinically proven to enhance brain performance.” Regarding Neuriva Original’s first main

active ingredient, coffee cherry extract (which its ingredient list identifies as coffee fruit

extract), Defendants claim on their packaging that it is “clinically proven to increase levels of

the vital neuroprotein BDNF, known to strengthen connections between brain cells.” Regarding

its second main active ingredient, phosphatidylserine, Defendants claim on the packaging that

“[t]hese plant-sourced phospholipids make up the structure of neurons within the brain.

Clinically proven to aid neuron health and fuel memory and learning ability.” Defendants

prominently display on the packaging Neuriva’s tagline: “Nature made it. Science proved it.

Brains love it.”




                                                11
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 12 of 45




       42.     The exterior of the Neuriva Plus packaging also advertises that it has “clinically

proven natural ingredients” and claims that the supplement “Fuels 6 indicators of brain

performance” and lists the following: “Focus,” “Memory,” “Learning,” “Accuracy,”

“Concentration,” and “Reasoning.”




       43.     The side of the Neuriva Plus packaging elaborates on what Defendants claim the

supplement will do as a matter of fact, which is identical to the claim made on the side panel of

the Neuriva Original packaging: “Our natural ingredients are GMO-free and clinically proven

to enhance brain performance.” Regarding the first main active ingredient, coffee cherry

extract, Defendants again claim that it is “clinically proven to increase levels of the vital

neuroprotein BDNF, known to strengthen connections between brain cells.” Regarding the

second main active ingredient, phosphatidylserine, Defendants again claim that “[t]hese plant-


                                                12
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 13 of 45




sourced phospholipids make up the structure of neurons within the brain. Clinically proven to

aid neuron health and fuel memory and learning ability.” As with Neuriva Original, Defendants

prominently display Neuriva’s tagline on the Neuriva Plus label: “Nature made it. Science

proved it. Brains love it.” With respect to B6, B12, and Folic Acid, which Neuriva Plus also

contains, Defendants claim they are “[k]ey nutrients to support brain health & cognitive

function.”




                                              13
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 14 of 45




       44.     Through the representations on Defendants’ exterior packaging, Defendants

represent to consumers that Neuriva improves focus, memory, learning, accuracy,

concentration and, when they add vitamins B6, B12, and Folic Acid, reasoning. And

Defendants further claim that Neuriva’s efficacy is scientifically and clinically proven.

       45.     Defendants repeat and expand on these deceptive representations on their

website, www.SchiffVitamins.com. Their website includes the following representations,

among others, concerning the Neuriva Products:

                a. “Our new supplement combines the best of science and nature to help brains

                   brain better.”

                b. “What makes our ingredients so special? Nature made it. Science proved it.

                   Brains love it.”

                c. “Our natural ingredients are decaffeinated, GMO-free, gluten-free, and

                   clinically proven to support brain performance.”

                d. “This extract is GMO-free and is decaffeinated, and it’s been shown to have

                   incredible brain-supporting properties.”

                e. “We’ve studied this amazing superfruit [Coffee Cherry], and proven that it

                   elevates the body’s levels of the neuroprotein BDNF.”

                f. “BDNF is vital neuroprotein that is known to strengthen connections

                   between brain cells, and help new connections flourish.”

       46.     If a consumer decides to buy Neuriva Original or Neuriva Plus on the Schiff

website and clicks on the product, the website then shows another summary of purported brain

performance benefits, which includes the claim that “Coffee Cherry Extract has been clinically


                                                14
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 15 of 45




proven to increase BDNF levels in the brain.”

       47.     Defendants also encourage readers of their website to “visit our science &

ingredients” webpage by asking: “What makes our ingredients so special?”




       48.     Under the title “Natural Ingredients Proven Through Science,” Defendants

elaborate on their claims that Neuriva is scientifically proven through a series of rotating slides.

After a person clicks on these slides, a pop-up window appears providing additional

information:

                a. After clicking the slide entitled “Tale of Two Neurons,” the pop-up window

                   states: “Your brain consists of approximately 86 billion neurons. And it does

                   its work by making connections between them. The two main ingredients in

                   Neuriva have been shown to support both; PS TM supports neuronal health,

                   and coffee cherry (Neurofactor) increases BDNF.”

                b. After clicking the slide entitled “The Importance of BDNF,” the pop-up

                   window states: “[BDNF is] what your brain uses to strengthen connections

                   between neurons, and has been clinically shown to play a role in cognitive

                   performance and higher thinking. Maintaining higher levels of BDNF helps

                   ensure maximum support for your brain.”

                c. After clicking the slide entitled Coffee Cherry,” the pop-up window states:

                   “This extract is GMO-free and is decaffeinated, and it’s been shown to have
                                                 15
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 16 of 45




                  incredible brain-supporting properties. We call it Neurofactor. We’ve studied

                  this amazing superfruit and proven that it elevates the body’s levels of

                  neuroprotein BDNF. BDNF is a vital neuroprotein that is known to

                  strengthen connections between brain cells, and help new connections

                  flourish.”

                d. After clicking the slide entitled “Plant-Sourced Sharp PS TM,” the pop-up

                  window states: “Dietary trends show that PSTM intake from food and diet

                  alone has declined over the years so PSTM supplementation is a great way to

                  help support your brain and cognitive function! Our Sharp PS TM is sourced

                  from soybeans and the subject of many clinical studies proving its

                  effectiveness as a cognitive aid.”

       49.     Defendants also create and post videos on their dedicated YouTube.com

channel, Neuriva Brain Performance, through which they market Neuriva. These videos are

designed and intended by Defendants to communicate claims about Neuriva’s brain

performance capabilities.

       50.     In the video entitled “What’s in Neuriva? Discover our natural ingredients to

support brain health,” Defendants ask: “What’s the not so secret secret behind Neuriva? Our

amazing clinically proven natural ingredients.” Defendants continue to discuss their “clinically

proven” ingredients. Regarding “Neurofactor” (a brand name for coffee cherry extract),

Defendants claim it “helps increase your brain’s natural levels of BDNF, a key neuroprotein

crucial to your overall brain health. Now what you really need to know is BDNF is known to

support connections between brain cells and help new connections flourish.” Regarding “Sharp

PS” (phosphatidylserine), Defendants claim it is “clinically proven to support memory and



                                               16
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 17 of 45




learning. This is a no-brainer because lipids make up 60% of your brain and act as the main

building blocks of cell membranes. Healthy lipids enrich the brain making PS key for health

cognitive functions.” Putting the ingredients together, Defendants claim that both active

ingredients carry the imprimatur of science: “Neurofactor plus PS makes Neuriva an incredible

brain support option. It combines the best of science and nature to help your brain be there for

you when you need it most, and fuel key indicators of brain performance.”

       51.     Defendants have extensively advertised Neuriva on television. A recent

advertisement stated: “Do you want to brain better? Unlike ordinary memory supplements,

Neuriva has clinically proven ingredients that fuel five indicators of brain performance:

memory, focus, accuracy, learning, and concentration. Try Neuriva for 30 days and see the

difference.”

       52.     Commercials have appeared on various popular networks.

       53.     Defendants also actively post marketing claims to an Instagram account. For

example, a March 17, 2020 post utilizes the Jeopardy game show to emphasize Defendants’

claim that Neuriva is clinically proven.




                                               17
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 18 of 45




        54.     Another Instagram post by Defendants asked: “Did you know that nutrient-rich

coffee cherry (or Neurofactor) is proven to increase levels of BDNF in the brain?




        55.     On Twitter, Defendants claim, among other claims: “Let's talk about

Phosphatidylserine. Sharp PS, has been proven to support memory and learning in multiple

clinical studies.”

        56.     Defendants also include descriptions next to their videos to emphasize their

                                               18
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 19 of 45




central uniform marketing message. For example, Defendants attempt to set Neuriva apart from

competitors as a better supplement based on its “clinically proven” ingredients:




       57.     The singular message throughout Defendants’ marketing of Neuriva is that

Neuriva is scientifically and clinically proven, as a matter of fact, to increase brain

performance. This overriding message promoted by Defendants has been and will continue to

be read, heard, and understood by consumers whether they see it on television; research the

product online through Defendants’ website or through another website (such as YouTube or

Instagram); or read the Product packaging or labeling in a physical store, because this primary

message is consistently repeated by Defendants across all utilized media.

  Defendants’ Representations are Deceptive and Misleading Because There is No Valid
        Scientific or Clinical Evidence Supporting Defendants’ Representations

       58.     In order for a claim to be considered scientifically and clinically proven, as

Defendants claim for Neuriva, the claim must be widely accepted in its applicable field and

have overwhelming evidence supporting it. Moreover, there must be a consensus in the

scientific community agreeing with the representations. Such consensus would require, at a

minimum, sufficiently large, randomized, controlled, double-blind studies that have been


                                                19
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 20 of 45




scrutinized by peer review during the publication process and subjected to scholarly debate by

diverse panels of scientific experts. Additionally, scientific consensus requires that published

results be independently replicated by others using rigorous experimental design and data

collection practices. If specific representations do not meet these standards, they cannot be

considered to be “scientifically and clinically proven” nor can they be considered to have

reached scientific consensus.5

       59.     There is no scientific consensus or scientific or clinical evidence that Neuriva

will result in enhanced or increased brain performance or will otherwise support brain

performance in any way.

       60.     Neuriva has two main active ingredients to which Defendants attribute its

purported efficacy: coffee cherry extract and plant-sourced phosphatidylserine.

       61.     Both versions of the active ingredients that Defendants use in Neuriva are brand-

name versions. Defendants’ supplier of coffee cherry extract has named the ingredient

“Neurofactor,” while Defendants’ supplier of plant-sourced phosphatidylserine has named that

ingredient “Sharp PS.”

       62.     In order to cause any improvement in brain performance, Neuriva must first be

ingested. Then, its active ingredients must be absorbed into the bloodstream. From there, the

active ingredients must circulate in the bloodstream, without being broken down, and ultimately

cross the blood-brain barrier. Only after the active ingredients cross the blood-brain barrier can

they potentially cause any improvement whatsoever to brain performance.

       63.     As the Global Council on Brain Health has emphasized: “When researchers

5
 Bauchner H, Golub RM, Fontanarosa PB. Reporting and Interpretation of Randomized Clinical Trials.
JAMA. 2019;322(8):732-735; Kirman CR, Simon TW, Hays SM. Science Peer Review for the 21st
century: Assessing Scientific Consensus for Decision-making while Managing Conflict of Interests,
Reviewer and Process Bias. Regul Toxicol Pharmacol. 2019;103:73-85.


                                                 20
              Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 21 of 45




study prescription drugs that have an effect on the brain, a key experiment that they perform is

measuring how much of the drug taken (orally or through other routes) gets into the brain. Not

all substances taken by mouth survive the strong stomach acid, and not all substances that

persist beyond the stomach get absorbed into the blood. Even after absorption into the blood,

the liver can further break down the substance, and the blood-brain barrier – the natural

gatekeeper of the brain – may keep out what is left. Usually it is not known how much – if any

– of the supplement people take gets into the brain.” 6 Consequently, “a key step in using

science to support any supplement’s benefit on brain health would be to study how much of

each nutrient gets to the brain.”7

           64.      No valid scientific or clinical evidence exists regarding how much, if any, of

Neuriva’s key ingredients reaches the brain. Because of this lack of evidence, Defendants’

claims that Neuriva’s ingredients are scientifically and clinically proven to benefit the brain are

patently false, as well as are Defendants’ claims that Neuriva is effective.

           65.      Instead of presenting actual scientific and clinical evidence giving rise to a

scientific consensus that coffee cherry extract and plant-based phosphatidylserine in fact impact

brain performance, Defendants created a deceptive and misleading infographic on their website

that sets out Defendants’ essential claims and purported scientific support for Neuriva and its

active ingredients but glosses over or misrepresents the lack of evidence that its active ingredients

actually reach the brain or impact the function of the brain: 8




6
    Id. at p. 20.
7
    Id.
8
    See https://www.schiffvitamins.com/blogs/health-wellness/ingredients-for-better-brain-health.


                                                     21
Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 22 of 45




                             22
               Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 23 of 45




                              No Scientific or Clinical Evidence Exists
                       That Coffee Cherry Extract Supports Brain Performance

           66.     According to Defendants, coffee cherry extract is one of the ingredients that

“science proved,” “is clinically proven to increase levels of Brain-Derived Neurotrophic Factor

(BDNF),” and “is clinically proved to increase BDNF levels in the brain.” 9 Also according to

Defendants, “[BDNF] has been widely studied and is known to support the survival of existing

neurons and encourage the growth of new neurons.”10

           67.     Defendants’ claims that coffee cherry extract (or Neurofactor) is scientifically

and clinically proven to improve brain performance and the implications in Defendant’s

infographic purporting to support those claims are deceptive and misleading because coffee

cherry extract does not and cannot increase BDNF levels in the brain.

           68.     Among other reasons that Defendants’ claims are false, BDNF cannot cross the

blood-brain barrier. Therefore, it is scientifically implausible that BDNF could survive

circulation in the bloodstream and be transported across the blood-brain barrier in a quantity

sufficient to provide any meaningful impact on brain performance.

           69.     The blood-brain barrier acts as a sort of security system for the brain. The blood-

brain barrier is highly selective and ensures that only specific substances are allowed to cross

and gain access to brain tissue. There is no evidence, let alone scientific or clinical proof, that

any increase of BDNF in the blood, such as may be caused by coffee cherry extract, will result

in measurable BDNF transport across the human blood-brain barrier and, subsequently, increase

the concentration of BDNF in brain tissue.

9
 See https://www.schiffvitamins.com/products/neuriva-original-brain-performance-clinically-
proven-brain-supporting-supplement-with-natural-ingredients.

10
     See id.


                                                    23
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 24 of 45




       70.     Consequently, there is no scientific or clinical evidence, let alone scientific or

clinical proof, that coffee cherry extract that is orally ingested will increase BDNF in the brain

and/or increase brain performance.

       71.     In addition to their false claims regarding coffee cherry extract, Defendants

intentionally mislead consumers by juxtaposing (a) assertions that clinical studies show that

coffee cherry extract stimulates the production of BDNF and can increase BDNF levels in the

plasma in 90 minutes with (b) statements such as “BDNF has an important role in maintaining

the health of existing brain cells, inducing the growth of new neurons and synapses and

supporting overall cognitive function, including memory and learning.” (Bold original) A

reasonable consumer would erroneously understand this juxtaposition to mean that coffee

cherry extract can improve cognitive functions by increasing levels of BDNF in the blood when

there is no scientific or clinical evidence that increased plasma levels of BDNF can increase

BDNF levels in the brain.

                               No Scientific or Clinical Proof
              That Plant-Based Phosphatidylserine Supports Brain Performance

       72.     Defendants’ claims that their second active ingredient, plant-sourced

phosphatidylserine, is scientifically and clinically proven to improve brain performance are also

deceptive and misleading.

       73.     First, no scientific consensus exists that there is clinical and scientific proof that

the soy-derived phosphatidylserine in Neuriva will in fact positively affect brain functions.

Defendants’ claims—such as the one on their website that “PS has been heavily researched and

is known to support proper functioning of the nerve cells in the brain” (bold original)—are

misleading. Soy-based phosphatidylserine, such as that used in Neuriva, has not been heavily

researched, and it has not been scientifically established that soy-based phosphatidylserine


                                                 24
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 25 of 45




benefits the brain.

       74.      Defendants fail to disclose to consumers that the “heavily researched” form of

phosphatidylserine is animal-derived phosphatidylserine, which is distinct from the soy-based

phosphatidylserine     present   in    Neuriva.   The   molecular    composition    of   soy-based

phosphatidylserine, the ingredient contained in Neuriva, is different from the molecular

composition     of    animal-derived    phosphatidylserine,   and   research   on   animal-derived

phosphatidylserine cannot support any claim that soy-based phosphatidylserine will improve

brain performance.

       75.      There is no consensus in the scientific community, based on the limited and

inconclusive research to date, that soy-based phophatidylserine can improve brain performance

generally, much less “Focus,” “Memory,” “Learning,” “Accuracy,” “Concentration,” and

“Reasoning.”.

       76.      Defendants’ assertion that the phosphatidylserine in Neuriva has been clinically

proven to support memory and learning in multiple clinical studies is deceptive and misleading.

       77.      The Global Council on Brain Health, after reviewing the scientific literature, has

concluded: “There is not enough evidence for recommending the use of phosphatidylserine for

brain health, mental functioning, or prevention or treatment of Alzheimer’s disease.”

       78.      The United States Food and Drug Administration has taken the position that

“there is little scientific evidence supporting [the] claim” that “[c]onsumption of

phosphatidylserine may reduce the risk of cognitive dysfunction in the elderly.” Further, it is the

FDA’s position that “there is little scientific evidence supporting [the] claim” that

“[c]onsumption of phosphatidylserine may reduce the risk of dementia in the elderly.”

       79.      Even if there were evidence that soy-based phosphatidylserine in fact improves



                                                  25
            Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 26 of 45




brain function, which there is not, there is no scientific consensus and clinical studies have not

scientifically established that the amount of soy-based phosphatidylserine contained in

Neuriva—100mg—would be sufficient to provide any meaningful improvement in brain

performance or that taking Neuriva for 30 days, as advertised, can make any difference in brain

function.

               No Scientific or Clinical Evidence Exists of Neuriva’s Effectiveness

       80.      When a drug or supplement has more than one active ingredient, as Neuriva

does, all active ingredients must be studied in conjunction with one another in order to determine

whether the active ingredients in combination still provide the benefits stated in the specific

claim or claims. This is important because the active ingredients may diminish each other’s

effectiveness or produce unexpected consequences.

       81.      The FDA has emphasized that even if a manufacturer can point to a study

substantiating its claims as to one ingredient contained in its supplement, “[m]anufacturers

should be aware that other substances . . . included in the dietary supplement product itself

might also affect the dietary supplement’s performance or the study results.” 11

       82.      Neuriva    has   two     active   ingredients:    coffee   cherry    extract    and

phosphatidylserine. There is no valid scientific or clinical evidence that these two active

ingredients, when combined, improve brain function or are safe for concurrent consumption.

     Defendants’ Citation to Studies Purportedly Supporting Their Product Claims are
                           Deceptive and Misleading Statements

       83.      On the Neuriva website, after repeatedly claiming that Neuriva’s ingredients are

scientifically and clinically proven, Defendants urge consumers “to do your research” and


11
  See https://www.fda.gov/regulatory-information/search-fda-guidance-documents/ guidance- industry-
substantiation-dietary-supplement-claims-made-under-section-403r-6-federal-food.


                                                  26
             Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 27 of 45




“[w]hen choosing a supplement, look for products that have science backing their ingredients.”

Defendants then list the following five “[r]eferences” to scientific literature: 12




          84.     By citing to purportedly scientific and/or clinical literature, Defendants intend to

communicate to consumers that Neuriva is scientifically and clinically proven by these five

scientific references to support brain performance. Defendants’ implication that these references

support their claims is deceptive and misleading

          85.     The five cited references do not provide any scientific or clinical proof for

Defendants’ claims. Rather, these references directly undermine Defendants’ claim that Neuriva

is scientifically and clinically proven to improve brain function.

          86.     First, Defendants cite to a 2013 study conducted by employees of the company

that owns and sells Neurofactor (the coffee cherry extract) entitled “Stimulatory Effect of Whole

Coffee Fruit Concentrate Powder on Plasma Levels of Total and Exosomal Brain-Derived




12
     See https://www.schiffvitamins.com/blogs/health-wellness/ingredients-for-better-brain-health.



                                                      27
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 28 of 45




Neurotrophic Factor in Healthy Subjects: An Acute Within-Subject Clinical Study.”13 The

conclusion reached in this study was that “whole coffee fruit concentrate” increased BDNF in

blood plasma. This study did not show any increase in BDNF in the brain or provide any

evidence that BDNF in blood plasma could cross the blood-brain barrier and achieve

concentrations in brain tissue that could improve brain performance. The study also noted

further research was necessary, which further shows that Defendants’ claim that coffee cherry

extract is scientifically and clinically “proven” is false.14 Specifically, the studies’ authors end

the article with an explanation that “[f]urther studies are needed” and that “it would be

interesting to study the effect of [whole coffee fruit concentrate] on BDNF-mediated brain

functionalities such as cognitive activity....”15 In other words, the study itself acknowledged that

it did not address whether coffee cherry extract affects brain performance. Accordingly,

Defendants’ citation of this study is deceptive and misleading.

       87.     Second, Defendants cite to a 2013 study entitled “Modulatory effect of coffee

fruit extract on plasma levels of brain-derived neurotrophic factor in healthy subjects,” a study

also conducted by employees of the company that markets Neurofactor. 16 The conclusion

reached in this study was again only that “whole coffee fruit concentrate” increased BDNF in

blood plasma. This study did not show any increase of BDNF in the brain or that an increase in

blood plasma BDNF results in enhanced BDNF delivery across the blood-brain barrier.

13
   See https://www.researchgate.net/publication/260944035_Stimulatory_Effect_of_Whole_Coffee_Frui
t_Concentrate_Powder_on_Plasma_Levels_of_Total_and_Exosomal_Brain-
Derived_Neurotrophic_Factor_in_Healthy_Subjects_An_Acute_Within-Subject_Clinical_Study.
14
   Id.
15
   Id.
16
   See
 https://www.cambridge.org/core/services/aop-cambridge-
core/content/view/8B291E8D053143AA5A8D33B65496B034/S0007114512005338a.pdf/modul
atory_effect_of_coffee_fruit_extract_on_plasma_levels_of_brainderived_neurotrophic_factor_in
_healthy_subjects.pdf.



                                                  28
            Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 29 of 45




Furthermore, this study provided no data in support of the assertion that coffee fruit extract

could provide beneficial effects in the brain due to elevated BDNF plasma levels. This study also

noted the need for “larger clinical studies” simply “to support” a possibility that whole coffee

fruit concentrate might be “used for modulation of BDNF-dependent health conditions,”

without any reference to the brain.

          88.    Third, Defendants cite to a 2019 literature review entitled “A simple role of

BDNF in learning and memory?”17 Far from supporting Defendants’ claim that Neuriva’s

active ingredients when orally ingested are scientifically and clinically proven to improve brain

performance, this review notes that “[l]ack of a precise knowledge about the mechanisms by

which BDNF influences higher cognitive functions and complex behaviors may constitute a

severe limitation in the possibility to devise BDNF-based therapeutics for human disorders of

the CNS.” Nothing in this recent review supports Defendants’ claim that coffee cherry extract (or

Neurofactor) can increase BDNF in the brain or affect brain performance.

          89.    Fourth, Defendants cite to an article entitled “Treatment of age-related decline in

cognitive capacities: The effects of phosphatidylserine” contained in a 1998 book that is now

out of print. The results of this study have been described as controversial, involved

phosphatidylserine dosages three times larger than contained in Neuriva, and looked at only at a

limited population. This article does not support Defendants’ claim that plant-derived

phosphatidylserine is clinically proven to improve brain performance or that Neuriva can

increase brain performance.

          90.    Fifth, Defendants cite to a 2014 literature review entitled “Phosphatidylserine in




17
     See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2821174/


                                                  29
             Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 30 of 45




the brain: metabolism and function.”18 This review establishes, contrary to Defendants’ claims,

that it is far from clear whether soy-based phosphatidylserine can increase brain performance:

“[E]xperimental evidence indicating that orally or intravenously administered PS actually alters

neuronal membrane properties is lacking. How the administered PS is transported in the

plasma, how much enters the brain, whether it is taken up intact, and whether it is incorporated

into neurons or glia are not known.... These issues will have to be investigated in order to obtain

some mechanistic insight into how dietary or intravenously administered PS supplements

function to produce cognitive improvement.” This literature review shows that Defendants’

claims of scientific and clinical proof regarding the ability of soy-based phosphatidylserine to

affect brain performance are deceptive and misleading.

          91.      The lack of scientific and clinical support for Defendants’ claims regarding

Neuriva is hardly surprising to anyone versed in the science. As the Global Council on Brain

Health emphasized in a Consensus Statement: “Very few supplements have been carefully

studied for their effect on brain health. For the handful that have been researched, several well-

designed studies of supplements for brain health found no benefit in people with normal

nutrient levels. It’s unclear whether people with nutritional deficiencies can benefit their brains

by taking a supplement because the research is inconclusive.” 19

     Defendant RB’s Chief Scientific Officer Admits Defendants’ Marketing is Deceptive and
                                           Misleading

          92.      Defendants’ persistent and uniform marketing message is that Neuriva is

scientifically and clinically proven to improve brain performance as a matter of fact. This

message conveys to consumers that scientists have reached a consensus through clinical

18
     See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4258547/

19
     Global Council on Brain Health at p. 4.


                                                  30
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 31 of 45




research that Neuriva’s ingredients will improve consumers’ brain performance. This message

is deceptive and misleading as implicitly acknowledged by Defendant RB’s Chief Scientific

Officer, Dr. Dirk Hondmann.

       93.     In Defendants’ press release dated April 24, 2019,20 Dr. Hondmann claims only

that “Neuriva’s ingredients are supported by clinical studies”—as opposed to being proven—

and also acknowledges that the Products need more testing: “But this is just the beginning – the

team is committed to continuing to advance the education and science even further.”

       94.     In addition, in an interview published on May 6, 2019, shortly after Defendants

first began marketing Neuriva, Dr. Hondmann said with regard to Neuriva’s ability to improve

brain function: “There are several studies supporting the effectiveness of the ingredients in

Neuriva. While both ingredients have similar mechanisms of action we are eager to continue to

invest in clinical research of the individual components and investigate studies on the complete

product.”21

       95.     Dr. Hondmann’s more limited claim that there are only studies “supporting” the

effectiveness of the ingredients in improving brain function is deceptive in and of itself and is

also an acknowledgement that the effectiveness of the Neuriva ingredients has not yet been

proven. Scientifically, the mere existence of studies “supporting” the effectiveness of an

ingredient does not “prove” that the ingredient is effective, although this distinction is not

readily apparent to the average consumer, particularly when bombarded with marketing and

label claims of clinical and scientific proof.


20
  See https://www.prnewswire.com/news-releases/its-time-to-brain-better-rb-launches-neuriva-a-
dietary-supplement-and-holistic-approach-to-support-brain-health-300837523.html.

21
  See https://www.nutraingredients-usa.com/Article/2019/05/06/Reckitt-Benckiser-throws-hat- in-
nootropic-ring-with-Neuriva-launch#.



                                                  31
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 32 of 45




       96.     Dr. Hondmann further acknowledged that the effectiveness of the ingredients

had not yet been proven—contrary to Defendants’ uniform marketing claims—by stating that

Defendants needed to fund further research on the ingredients.

       97.     Dr. Hondmann also acknowledged that the effectiveness of Neuriva itself had

not been proven—contrary to the implications of Defendants’ uniform marketing claims—

because clinical research needs to be done on Neuriva itself.

       98.     By acknowledging the need for further research on Neuriva’s core ingredients

and on Neuriva itself, Defendant RB’s Chief Scientific Officer admitted that Neuriva does not

have the consensus of the scientific community necessary to state that Neuriva is scientifically

or clinically “proven” to improve brain performance.

                     Impact of Defendants’ Wrongful Conduct

       99.     As the manufacturer and distributor of Neuriva, Defendants possess exclusive

and specialized knowledge regarding Neuriva’s content and the effects of its ingredients as well

as the state of scientific and clinical research regarding Neuriva’s ingredients. As a result,

Defendants are in a superior position to know whether Neuriva works as they claim in their

marketing on the Products’ packages and labels.

       100.    Defendants knew, but failed to disclose, or should have known, that Neuriva is

not scientifically or clinically proven to improve brain performance as advertised because

Neuriva itself has not been studied.

       101.    Defendants knew, but failed to disclose, or should have known that coffee cherry

extract (or Neurofactor) has not been scientifically or clinically proven to improve brain

performance and that even if orally-ingested coffee cherry extract increases levels of BDNF in

the blood plasma, BDNF cannot cross the blood-brain barrier and impact brain performance.



                                                32
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 33 of 45




       102.    Defendants knew, but failed to disclose, or should have known, that soy-based

phosphatidylserine is not scientifically or clinically proven to improve brain performance as

advertised; that very little research has been done on soy-based phosphatidylserine; that soy-

based phosphatidylserine is molecularly different than animal-derived phosphatidylserine; that

the overwhelming bulk of the research has been done on animal-derived phosphatidylserine

rather than soy-based phosphatidylserine; and that even if soy-based phosphatidylserine could

have an impact on brain function, it would not show any brain impact within 30 days as

advertised.

       103.    Defendants knew, but failed to disclose, that their five references to scientific

literature do not support, and in several cases directly refute, Defendants’ assertions that

Neuriva and its ingredients are scientifically and clinically proven.

       104.    Defendants knew, but failed to disclose, that some of their cited studies are

funded by those who have a direct financial incentive in producing positive results.

       105.    Defendants affirmatively represented that there was scientific and clinical proof

for Neuriva’s improved brain performance claims when there is no scientific or clinical

consensus regarding those claims.

       106.    Plaintiff and the class members have been and will continue to be deceived or

misled by Defendants’ false, misleading, and deceptive brain performance representations.

       107.    Defendants’ brain impact representations and omissions were a material factor in

influencing Plaintiff’s and the class members’ decision to purchase Neuriva. In fact, the only

purpose for purchasing Neuriva is to obtain the represented brain performance benefits.

       108.    Defendants market Neuriva solely for use as a supplement that improves brain

performance. Defendants’ conduct has injured Plaintiff and the class members because



                                                 33
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 34 of 45




Defendants’ Neuriva cannot support or benefit brain performance as advertised and is

worthless.

       109.     Had Plaintiff and the class members known the truth about Defendants’ Neuriva

products, they would not have purchased Neuriva and would not have paid the prices they paid

for Neuriva.

       110.     Plaintiff and each class member were harmed by purchasing Defendants’

Neuriva because Neuriva is not capable of providing the claimed benefits to the brain. Plaintiff

and each class member lost money and property as a result of purchasing Defendants’

ineffective and worthless products.

       111.     Plaintiff and each class member did not realize the benefit of the bargain and

their expectations were not met. And Plaintiff and each class member paid substantially more

than the market value represented by the price bargained for.

       112.     By use of its misleading marketing and labeling, Defendants created increased

market demand for Neuriva and increased their market share relative to what the demand for

Neuriva and share would have been had Defendants marketed and labeled Neuriva truthfully.

       113.     Plaintiff and the class members lost money as a result of Defendants’

misrepresentations in that they did not receive what they reasonably believed they were paying

for based upon the misrepresentations while Defendants realized a commensurate unearned gain

because they did not deliver to Plaintiff and the class members what Defendants led Plaintiff

and the class members to believe they would receive.

               FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

       114.     Plaintiff purchased Neuriva Plus on Amazon. Prior to purchasing Neuriva Plus,

Plaintiff was exposed to and saw and relied upon Defendants’ materially misleading



                                               34
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 35 of 45




representations via television commercials, the internet, the Neuriva website, on Amazon’s

website, and the Neuriva packaging, including Defendants’ claims that Neuriva’s ingredients

have been clinically and scientifically proven and that Neuriva has the ability to improve brain

performance.

       115.    Plaintiff experienced no improvement in her brain performance as a result of

taking Neuriva.

       116.    Plaintiff’s decision to buy Neuriva was directly impacted and caused by the

materially misleading representations that Defendants made regarding Neuriva’s ingredients

being clinically and scientifically proven and Neuriva’s ability to improve brain performance.

       117.    Had Plaintiff known the truth about Defendants’ materially misleading

representations and omissions, she would not have purchased Neuriva.

       118.    By purchasing Defendants’ falsely advertised Products, Plaintiff suffered injury

in fact and lost money.

                               Class Action Allegations

       119.    Pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil

Procedure, Plaintiff brings this action on behalf of a proposed Class defined as follows:

               All persons residing in the state of New York who purchased
               Neuriva Original and/or Neuriva Plus for personal use and
               not for resale (the “Class”).

       120.    Excluded from the Class are: Defendants, Defendants’ board members, executive

level officers, and attorneys, and immediate family members of any of the foregoing;

governmental entities; the Court, the Court’s immediate family, and staff; and any person who

timely and properly excludes himself or herself from the Class.

       121.    Plaintiff reserves the right to alter the Class definition as necessary to the full



                                                 35
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 36 of 45




extent allowed by the Federal Rules of Civil Procedure, the Local Rules of the United States

District Court for the Southern District of New York, and applicable precedent.

       122.    Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of the claims on a class-wide basis using the same evidence

that individual Class members would use to prove those elements in individual actions alleging

the same claims.

Numerosity, Rule 23(a)(1)

       123.    The size of the Class is so large that joinder of all Class members is

impracticable. Plaintiff believes there are thousands or more members in the Class

geographically dispersed throughout the State of New York.

Existence and Predominance of Common Questions of Law and Fact, Rule
 23(a)(2), (b)(3)

       124.    There are questions of law and fact common to the Class. These questions

predominate over any questions that affect only individual Class members. Common legal and

factual questions/issues include but are not limited to:

                a. what representations Defendants have made regarding Neuriva over time;

                b. the state of scientific and industry knowledge, including Defendants’
                   knowledge, regarding the ability of coffee cherry extract and/or plant-based
                   phosphatidylserine to improve brain performance;

                c. whether Neuriva has any of the beneficial effects on brain performance that
                   Defendants claim;

                d. whether Neuriva is scientifically or clinically proven to have any of the
                   beneficial effects on brain performance that Defendants claim;

                e. whether Defendants’ representations and omissions regarding Neuriva are
                   false and/or misleading;

                f. whether Defendants have engaged in false and/or misleading advertising,
                   marketing, packaging, and labeling in connection with Neuriva;


                                                 36
             Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 37 of 45




                  g. whether Defendants knew or reasonably should have known that their
                     representations regarding Neuriva are false and misleading;

                  h. whether Defendants’ conduct was knowing and willful;

                  i. whether Defendants violated N.Y. G.B.L § 349;

                  j. whether the Class members have been injured and the proper measure of
                     their damages as a result of their injuries; and

                  k. whether the Class members are entitled to other appropriate remedies,
                     including corrective advertising and injunctive relief.

        125.     Defendants engaged in a common course of conduct in contravention of the laws

Plaintiff seeks to enforce individually and on behalf of the Class members. Similar or identical

violations of law, business practices, and injuries are involved. Individual questions, if any, pale

by comparison, in both quality and quantity, to the numerous common questions that

predominate this action. Moreover, the common questions will yield common answers that will

substantially advance the resolution of the case.

Typicality, Rule 23(a)(3)

        126.     Plaintiff’s claims are typical of the claims of the Class members because, among

other things, Defendants injured all Class members through the uniform misconduct described

herein; all Class members suffered injury due to Defendants’ misrepresentations; and Plaintiff

seeks the same relief as the Class members.

        127.     There are no defenses available to Defendants that are unique to the named

Plaintiff.


Adequacy of Representation, Rule 23(a)(4)

        128.     Plaintiff is a fair and adequate representative of the Class because Plaintiff’s

interests do not conflict with the Class members’ interests. Plaintiff will prosecute this action


                                                    37
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 38 of 45




vigorously and is highly motivated to seek redress against Defendants. Furthermore, Plaintiff

has retained competent counsel who are experienced in class action and other complex

litigation. Plaintiff and Plaintiff’s counsel are committed to prosecuting this action vigorously

on behalf of the Class and have the resources to do so. The interests of the Class members will

be fairly and adequately protected by Plaintiff and her counsel.

Declaratory and Injunctive Relief, Rule 23(b)(2)

       129.    Defendants have acted or refused to act on grounds generally applicable to

Plaintiff and the other Class members, thereby making appropriate final injunctive relief and

declaratory relief with respect to the Class as a whole.

Superiority, Rule 23(b)(3):

       130.    The class action mechanism is superior to other available means for the fair and

efficient adjudication of this controversy for reasons including but not limited to the following:

                a. The damages individual Class members have suffered are small compared to

                   the burden and expense of individual prosecution of the complex and

                   extensive litigation needed to address Defendants’ misconduct.

                b. It would be virtually impossible for the Class members individually to

                   redress effectively the wrongs done to them. Even if Class members

                   themselves could afford such individual litigation, the court system could

                   not. Individualized litigation would unnecessarily increase the delay and

                   expense to all parties and to the court system and presents a potential for

                   inconsistent or contradictory rulings and judgments. By contrast, the class

                   action device presents far fewer management difficulties, allows the hearing

                   of claims which might otherwise go unaddressed because of the relative



                                                 38
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 39 of 45




                    expense of bringing individual lawsuits, and provides the benefits of single

                    adjudication, economies of scale, and comprehensive supervision by a single

                    court.

                 c. The prosecution of separate actions by individual Class members would create

                    a risk of inconsistent or varying adjudications, which would establish

                    incompatible standards of conduct for Defendants.

        131.    The prosecution of separate actions by individual Class members would create a

risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of other Class members not parties to the adjudications or that would substantively

impair or impede their ability to protect their interests.

                                     CLAIMS FOR RELIEF

                                               COUNT I
                    VIOLATION OF N.Y. GENERAL BUSINESS LAW § 349
                    (On behalf of Plaintiff individually and behalf of the Class)

        132.     Plaintiff hereby incorporates by reference all preceding paragraphs as though

fully set forth herein.

        133.     Plaintiff brings this Count on behalf of herself and the Class.

        134.     The New York General Business Law § 349 provides, inter alia:

                 Deceptive acts or practices in the conduct of any business, trade or commerce
                or in the furnishing of any service in this state are hereby declared unlawful.

N.Y. Gen. Bus. Law § 349(a).

        135.     Defendants engage in “trade” and “commerce” as they offer the Neuriva

Products for sale to consumers. By their wrongful acts and omissions described within this

Complaint, including the deceptive marketing, packaging, labeling, distribution, and sale of the

Neuriva Products as scientifically and clinically proven to improve brain performance,


                                                  39
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 40 of 45




Defendants committed unfair methods of competition and unfair and deceptive acts and

practices in the conduct of a trade or commerce.

       136.     By misrepresenting that the Neuriva Products are scientifically and clinically

proven to improve brain performance, Defendants made material representations of fact that

they knew, or should have known, were false and misleading and that had the tendency and

capacity to be misleading.

       137.     Defendants’ misrepresentations and false, deceptive, and misleading statements

and omissions with respect to the Neuriva Products, as described above, constitute affirmative

misrepresentations in connection with the marketing, advertising, promotion, and sale of the

Neuriva Products in violation of the New York General Business Law.

       138.     Defendants’ false, deceptive, and misleading statements and omissions would

have been material to any potential consumer’s decision to purchase the Neuriva Products from

Defendants.

       139.     Defendants knew at the time they made false, deceptive, and misleading

statements and omissions about the Neuriva Products being scientifically and clinically proven

to improve brain performance that this promise was false.

       140.     Defendants made these false, deceptive, and misleading statements and

omissions with the intent that consumers rely upon such statements.

       141.     Defendants’ intentional concealments were designed to deceive Plaintiff and

the Class into believing that the Neuriva Products are scientifically and clinically proven to

improve brain performance. Defendants benefit from Plaintiff and the Class’s reliance and

deprives consumers from informed purchasing decisions regarding the Neuriva Products.

       142.     Defendants knew that their misrepresentations and omissions would induce




                                               40
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 41 of 45




Plaintiff and Class members to purchase the Neuriva Products.

        143.    Defendants distributed, offered for sale, and sold the Neuriva Products subject

to these misrepresentations and omissions.

        144.    These misrepresentations and omissions became part of the basis of the bargain

that Plaintiff and Class members reasonably and justifiably relied upon when purchasing the

Neuriva Products.

        145.    The Neuriva Products did not conform to Defendants’ representations made in

advertising and marketing, on Defendants’ website, and on the labels and packaging.

        146.    Plaintiff and Class members would not have paid for the Neuriva Products if

they knew that the Neuriva Products did not conform to Defendants’ representations.

        147.    Defendants’ conduct constitutes unfair competition and/or unfair or deceptive

acts in violation of N.Y. Gen. Bus. Law § 349.

        148.    Plaintiff and the other members of the Class purchased Defendants’ Neuriva

Products for personal, family, or household use, and suffered ascertainable losses as a direct

and proximate result of Defendants’ actions in violation of the New York General Business

Law.

        149.    Plaintiff and the other members of the Class suffered an ascertainable loss

caused by Defendants’ misrepresentations and omissions because they would not have

purchased the Neuriva Products from Defendants if the true facts concerning the Neuriva

Products had been known.

        150.    By reason of the foregoing, Defendants are liable to Plaintiff and the other

members of the Class for actual damages; injunctive relief, attorneys’ fees, and the costs of this

suit.




                                                 41
          Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 42 of 45




                                             COUNT II

                                    UNJUST ENRICHMENT
                    (On behalf of Plaintiff individually and behalf of the Class)

        151.    Plaintiff repeats and realleges the allegations in the preceding paragraphs as if

fully set forth herein.

        152.    Plaintiff brings this Count on behalf of herself and the Class.

        153.    Plaintiff and Class Members conferred a monetary benefit on Defendants when

they purchased Neuriva.

        154.    By their wrongful acts and omissions described within this Complaint, including

the deceptive marketing, packaging, labeling, distribution, and sale of the Neuriva Products as

scientifically and clinically proven to improve brain performance, Defendants were unjustly

enriched at the expense of Plaintiff and Class Members.

        155.    Plaintiff and Class Members’ detriment and Defendants’ enrichment were related

to and flowed from the wrongful conduct challenged in this Complaint.

        156.    Defendants have profited from their unlawful, unfair, misleading, and deceptive

practices at the expense of Plaintiff and Class Members under circumstances in which it would

be unjust for Defendants to be permitted to retain the benefit. It would be inequitable for

Defendants to retain the profits, benefits, and other compensation obtained from their wrongful

conduct as described herein in connection with the deceptive marketing, packaging, labeling,

distribution, and sale of Neuriva.

        157.    Plaintiff and Class Members have been damaged as a direct and proximate result

of Defendants’ unjust enrichment because they would not have purchased Neuriva had they

known that it was not scientifically and clinically proven to improve brain performance.

        158.    Defendants knew and intended that Plaintiff and Class Members would make



                                                 42
             Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 43 of 45




payments for Neuriva based on the belief that Neuriva was scientifically and clinically proven

to improve brain performance, as represented by Defendants in advertising and marketing, on

Defendants’ website, and on the labels and packaging. It is inequitable for Defendants to retain

the benefit of payments obtained through false and misleading representations.

        159.     Plaintiff and Class Members are entitled to recover from Defendants all amounts

wrongfully collected and improperly retained by Defendants.

        160.     When required, Plaintiff and Class Members are in privity with Defendants

because Defendants’ sale of Neuriva was either direct or through authorized sellers. Purchase

through authorized sellers is sufficient to create such privity because such authorized sellers are

Defendants’ agents for the purpose of the sale of Neuriva.

        161.     As a direct and proximate result of Defendants’ wrongful conduct and unjust

enrichment, Plaintiff and Class Members are entitled to restitution of, disgorgement of, and/or

imposition of a constructive trust upon all profits, benefits, and other compensation obtained by

Defendants for their inequitable and unlawful conduct.

        162.     Plaintiff and members of the Class reasonably relied upon Defendants’

misrepresentations and/or omissions in buying Neuriva.

        163.     Plaintiff will provide any required notice to appropriate entities regarding

Defendants’ unfair and deceptive trade practices.

        164.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the Class are entitled to compensatory damages, treble damages, attorneys’ fees and the costs of

this suit.



                                   JURY DEMAND




                                                 43
            Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 44 of 45




      Plaintiff demands a trial by jury on all claims in this Complaint so triable.

                               REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other members of the

proposed Class, respectfully request that the Court enter judgment in Plaintiff’s favor and against

Defendants as follows:

       1.        Declaring that this action is a proper class action, certifying the Class as requested

herein, designating Plaintiff as class representative, and appointing the undersigned counsel as

class counsel;

       2.        Ordering restitution and disgorgement of all profits and unjust enrichment that

Defendants obtained from Plaintiff and the Class members as a result of Defendants’ unlawful,

unfair, and fraudulent business practices;

       3.        Ordering injunctive relief as permitted by law or equity, including enjoining

Defendants from continuing the unlawful practices as set forth herein, and ordering Defendants

to engage in a corrective advertising campaign;

       4.        Ordering damages for Plaintiff and the Class members;

       5.        Ordering Defendants to pay attorneys’ fees and litigation costs to Plaintiff and

other members of the Class;

       6.        Ordering Defendants to pay both pre- and post-judgment interest on any

amounts awarded; and

       7.        Ordering such other and further relief as may be just and proper.




                                                   44
         Case 1:20-cv-07138-RA Document 1 Filed 09/02/20 Page 45 of 45




Dated: September 2, 2020               Respectfully submitted,

                                       /s/ Jonathan Shub
                                       Jonathan Shub (N.Y. I.D. 4747739)
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                                       *Application to be Admitted Pro Hac Vice
                                       forthcoming

                                       Attorneys for Plaintiff and the Proposed Class




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